     Fill in this Case    20-31320-11
                  information to identify yourDoc
                                              case: 1   Filed 05/04/20            Entered 05/04/20 08:33:04                  Page 1 of 9
     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Texas        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Gold's  Holding Corp.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               4001 Maple Avenue                                        _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Suite 200
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Dallas                        TX    75219
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Dallas County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Gold's Holding Corp.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            7991
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          Gold's Gym Merchandising, LLC                                      Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Northern District of Texas
                                                   District _____________________________________________ When                 05/04/2020
                                                                                                                              __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
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              Gold's Holding Corp.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999
                                             ✔




                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million
                                                                              ✔
                                                                                                                         $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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               Gold's Holding Corp.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million
                                                                                   ✔
                                                                                                                          $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              05/04/2020
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/
                                               _____________________________________________              Paul Early
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                     Chief Administration Officer
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Aaron Kaufman
                                               _____________________________________________              Date         05/04/2020
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Aaron Kaufman
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Dykema Gossett PLLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                1717 Main Street 4200
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Dallas
                                               ____________________________________________________             TX            75201
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                2144626400
                                               ____________________________________                              akaufman@dykema.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                24060067                                                        TX
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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 Debtor                                                           _                  Case number (if known)
              First Name   Middle Name    Last Name



                                              Continuation Sheet for Official Form 201
10) Pending Bankruptcies

Gold's Oklahoma,                  Northern District           05/04/2020
LLC                               of Texas

Gold's Gym Rockies,               Northern District           05/04/2020
 LLC                              of Texas

Gold's St. Louis,                 Northern District           05/04/2020
LLC                               of Texas

Gold's Texas                      Northern District           05/04/2020
Holdings Group,                   of Texas
Inc.

GGI Holdings, LLC                 Northern District           05/04/2020
                                  of Texas

Gold's Gym                        Northern District           05/04/2020
International, Inc.               of Texas

Gold's Alabama, LLC               Northern District           05/04/2020
                                  of Texas

Gold's Gym                        Northern District           05/04/2020
Franchising, LLC                  of Texas

Gold's Southeast,                 Northern District           05/04/2020
LLC                               of Texas

Gold's Ohio, LLC                  Northern District           05/04/2020
                                  of Texas

Gold's North                      Northern District           05/04/2020
Carolina, LLC                     of Texas

Gold's Louisiana,                 Northern District           05/04/2020
LLC                               of Texas

Gold's Gym                        Northern District           05/04/2020
Licensing, LLC                    of Texas




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                                           OMNIBUS WRITTEN CONSENT
                                                      OF
                                     GGI HOLDINGS, LLC AND ITS SUBSIDIARIES

                                                             May 1, 2020


                      The undersigned (the “Managing Member”), being the managing member of GGI Holdings,
            LLC, a Delaware limited liability company (the “Company”), and the authorized representative(s) of
            Gold’s Gym International, Inc., a Delaware corporation, Gold’s Holding Corp., a Delaware
            corporation, Gold’s Alabama LLC, a Delaware limited liability company, Gold’s Gym Franchising
            LLC, a Delaware limited liability company, Gold's Gym Licensing LLC, a Delaware limited liability
            company, Gold's Gym Merchandising LLC, a Delaware limited liability company, Gold's Gym
            Rockies, LLC, a Delaware limited liability company, Gold's Louisiana, LLC, a Delaware limited
            liability company, Gold's North Carolina, LLC, a Delaware limited liability company, Gold's Ohio,
            LLC, a Delaware limited liability company, Gold's Oklahoma, LLC, a Delaware limited liability
            company, Gold's St. Louis LLC, a Delaware limited liability company, Gold's Southeast, LLC, a
            Delaware limited liability company, and Gold's Texas Holdings Group, Inc., a Delaware corporation
            (collectively, “Subsidiaries”, and together with the Company, the “Company Group”), acting by
            written consent in lieu of a meeting hereby take the following action and consent to the adoption of the
            following resolutions:

                    WHEREAS, the Managing Member has considered presentations by management and the
            financial and legal advisors of the Company Group regarding the liabilities and liquidity situation
            of the Company Group, the strategic alternatives available to it, and the effect of the foregoing on
            the Company Group’s business;

                    WHEREAS, the Managing Member has had the opportunity to consult with the
            management and the financial and legal advisors of the Company Group and fully consider each
            of the strategic alternatives available to the Company Group; and

                     WHEREAS, the Managing Member has determined that it is desirable and in the best
            interests of the Company Group, its creditors and other interested parties that a petition be filed by
            the Company Group seeking relief under the provisions of chapter 11 of the Bankruptcy Code to
            facilitate the closing of certain locations, the rejection of the related leases and contracts and the
            sale of the remaining business operations on the terms proposed by TRT Gym Asset Holdings,
            LLC and its assigns through a confirmed chapter 11 plan (the “Transaction”).

                    NOW, THEREFORE, BE IT RESOLVED, that in the judgement of the Managing
            Member, it is desirable and in the best interests of the Company Group and its creditors and other
            parties in interest, that the Chief Executive Officer, acting on behalf of and in the name of the
            Managing Member, be, and hereby is, authorized, empowered, and directed, in the name and on
            behalf of the Company Group, to execute and verify the petition under chapter 11 of the
            Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy Court for the
            Northern District of Texas (the “Bankruptcy Court”) at such time as the Authorized Person
            executing the petition shall determine to effectuate the Transaction;



                                                              1
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                    BE IT FURTHER RESOLVED, that the law firm of Dykema Gossett PLLC be, and
            hereby is, employed as bankruptcy counsel for the Company Group under an agreed-upon retainer
            in this Chapter 11 case, subject to the approval of the Bankruptcy Court;

                    BE IT FURTHER RESOLVED, that any Authorized Person be, and hereby is,
            authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists,
            applications, pleadings, and other papers and, in connection therewith, to employ and retain all
            assistance by legal counsel, accountants, financial advisors and other professionals and to take and
            perform any and all further acts and deeds that such Authorized Person deems necessary, proper,
            or desirable in connection with the Transaction;

                    BE IT FURTHER RESOLVED, that in connection with the commencement of the
            chapter 11 case, any Authorized Person be, and hereby is, authorized, empowered, and directed to
            negotiate the use of cash collateral and to negotiate, execute, and deliver a debtor-in-possession
            loan facility and exit loan facilities with TRT Holdings, Inc. and/or its affiliates and designees
            (including, in connection therewith, such notes, security agreements and other agreements or
            instruments as such Authorized Person considers appropriate) on the terms and conditions such
            Authorized Person executing the same may consider necessary, proper or desirable, and to take
            such additional action and to execute and deliver each other agreement, instrument, or document
            to be executed and delivered by or on behalf of the Company, pursuant thereto or in connection
            therewith, all with such changes therein and additions thereto as any Authorized Person approves,
            such approval to be conclusively evidenced by the taking of such action or by the execution and
            delivery thereof;

                   BE IT FURTHER RESOLVED, that any Authorized Person and such other officers,
            employees or agents of the Company Group (including counsel) as the Managing Member shall
            designate from time to time, be, and each hereby is, authorized, empowered, and directed, in the
            name and on behalf of the Company Group to cause the Company Group to negotiate, enter into,
            execute, deliver, certify, file, and/or record, and perform such agreements, instruments,
            assignments, motions, affidavits, applications for approvals or rulings of governmental or
            regulatory authorities, certificates, or other documents, and to take such other actions, as in the
            judgment of any such officer shall be or become necessary, proper, and desirable to effectuate the
            Transaction;

                    BE IT FURTHER RESOLVED, that each Authorized Person, and such other officers,
            employees or agents of the Company Group as the Managing Member shall from time to time
            designate, be, and each hereby is, authorized, empowered and directed, in the name and on behalf
            of the Company Group to (and any such actions heretofore taken by any of them are hereby ratified,
            confirmed and approved in all respects): (i) negotiate, execute, deliver and/or file any and all of
            the agreements, documents and instruments referenced herein, and such other agreements,
            documents and instruments and assignments thereof as may be required or as such Authorized
            Person or such other officer, employee or agent of the Company Group deems appropriate or
            advisable to advance the Transaction, or to cause the negotiation, execution and delivery thereof
            in such form and substance as such Authorized Persons, officers, employees or agents may
            approve, together with such changes and amendments to any of the terms and conditions thereof
            as such person may approve, with the execution and delivery thereof on behalf of the Company
            Group, by or at the direction of such Authorized Persons, officers, employees or agents to


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            constitute evidence of such approval, (ii) negotiate, execute, deliver and/or file any and all
            agreements, documents, certificates, consents, filings and applications relating to the resolutions
            adopted and matters ratified or approved herein and the transactions contemplated thereby, and
            amendments and supplements to any of the foregoing, and to take such other actions as may be
            required or as such Authorized Persons, officers, employees or agents deem appropriate or
            advisable in connection therewith to effectuate the Transaction, and (iii) do such other things as
            may be required, or as may in their judgment be appropriate or advisable, in order to effectuate
            fully the resolutions adopted and matters ratified or approved herein and the consummation of the
            transactions contemplated thereby;

                    BE IT FURTHER RESOLVED, that each Managing Member be, and each hereby is,
            authorized and empowered on behalf of and in the name of the Company Group to execute such
            consents of the Company Group as such Managing Member considers necessary, proper or
            desirable to effectuate these resolutions, such determination to be evidenced by such execution or
            taking of such action; and

                    BE IT FURTHER RESOLVED, that any and all past actions heretofore taken by any
            Authorized Person or the Managing Member in the name and on behalf of the Company Group in
            furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
            confirmed, and approved.

                                                 [signatures on following page]




                                                             3
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                    IN WITNESS WHEREOF, the undersigned has executed this consent to be effective as
            of the date first written above.

            GGI HOLDINGS, LLC

            By: TRT Holdings, Inc., its Managing Member


            By:
                     Paul A. Jorge, Senior Vice President


            GOLD'S GYM INTERNATIONAL, INC.
            GOLD'S HOLDING CORP.
            GOLD'S TEXAS HOLDINGS GROUP, INC.



            T. Blake Rowling, Director



            Adam Zeitsiff, Director


            GOLD'S ALABAMA LLC
            GOLD'S GYM FRANCHISING LLC
            GOLD'S GYM LICENSING LLC
            GOLD'S GYM MERCHANDISING LLC
            GOLD'S GYM ROCKIES, LLC
            GOLD'S LOUISIANA, LLC
            GOLD'S NORTH CAROLINA, LLC
            GOLD'S OHIO, LLC
            GOLD'S OKLAHOMA LLC
            GOLD'S SOUTHEAST, LLC
            GOLD'S ST. LOUIS LLC

            By: Gold’s Holding Corp., its Sole Member


            By:
                     Adam Zeitsiff, CEO & President




                                                             4
